Case 3:18-cv-00041-NKM-JCH Document 55 Filed 10/10/19 Page 1 of 1 Pageid#: 258
                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                              AT CHARLOTTESVILLE, VA
                                                                                    FILED
                                                                                 10/10/2019
                        IN THE UNITED STATES DISTRICT COURT                   JULIA C. DUDLEY, CLERK
                       FOR THE WESTERN DISTRICT OF VIRGINIA                   BY: /s/ J. JONES
                                  CHARLOTTESVILLE DIVISION                       DEPUTY CLERK



       JANE DOE,                                    CASE NO. 3:18-cv-00041
                                    Plaintiff,
       v.                                           ORDER

       PAMELA SUTTON-WALLACE, et al.,
                                                    JUDGE NORMAN K. MOON
                                    Defendants.


        In accordance with the accompanying memorandum opinion, Plaintiff’s Motion to Amend

 her Complaint, (Dkt. 38), is DENIED, and Defendants Callie Bateman, Adam Carter, Kathleen

 Root, and Pamela Sutton-Wallace’s Motion for Judgment on the Pleadings, (Dkt. 34), is

 GRANTED. As Plaintiff has conceded that “the Court’s ruling with regard to Dr. Syverud would

 apply to all defendants save Pamela Sutton-Wallace,” (Dkt. 37 at 1–2), Plaintiff’s claims as to

 Defendants Callie Bateman, Adam Carter, Kathleen Root, Jane Roes 1–3, and John Does 1–5 are

 DISMISSED without prejudice. For the reasons stated in the memorandum opinion, Plaintiff’s

 claims as to Defendant Pamela Sutton-Wallace are DISMISSED without prejudice. As all

 remaining defendants have been dismissed from this action, the Clerk is hereby directed to

 STRIKE this case from the active docket of the Court.

        It is so ORDERED.

        The Clerk of Court is hereby directed to send a certified copy of this order and the

 accompanying memorandum opinion to all counsel of record.

        Entered this ____
                     10th day of October, 2019.
